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 4
     Attorney for Defendant
 5   GABRIEL CARACHEO

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 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,               )        2:07-CR-00248-26 WBS
11                                           )
                                Plaintiff,   )
12                                           )        STIPULATION AND [PROPOSED]
     v.                                      )        ORDER TO MODIFY BRIEFING
13                                           )        SCHEDULE
                                             )
14   GABRIEL CARACHEO,                       )
                                             )
15                           Defendant.      )
     __________________________________      )
16
             On October 13, 2016, Mr. Caracheo filed his motion to reduce sentence
17
     pursuant to 18 U.S.C. § 3582(c)(2).         CR 1445.   The government filed its
18
     opposition on November 16, 2016.    CR 1464.      Pursuant to this Court’s order
19
     filed on January 6, 2017, the date due for the reply brief is February 16,
20
     2017.    CR 1488.   Mr. Caracheo intends to file a reply; however, Ms. Radekin
21
     needs time to communicate with Mr. Caracheo in writing to discuss his
22
     disciplinary violations noted by the government in its opposition.
23
             Accordingly, the parties stipulate and request that the date due for
24
     the reply brief be modified to March 20, 2017.          Assistant United States
25
     Attorney Jason Hitt has indicated he has no objection to the modification of
26
     the reply brief due date and has authorized Ms. Radekin to sign this
27
     stipulation on his behalf.
28



                 STIPULATION AND [PROPOSED] ORDER TO MODIFY BRIEFING SCHEDULE - 1
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 1   IT IS SO STIPULATED.

 2   Dated: February 16, 2017                       PHILLIP A. TALBERT
                                                    Acting United States Attorney
 3
                                            By:      /s/ Jason Hitt
 4                                                  JASON HITT
                                                    Assistant United States
 5

 6   Dated: February 16, 2017                       /s/ Erin J. Radekin
                                                    ERIN J. RADEKIN
 7                                                  Attorney for Defendant
                                                    GABRIEL CARACHEO
 8

 9

10                                          ORDER

11            Pursuant to the unopposed request, and good cause appearing therefor,

12   it is hereby ordered that the date due for the reply brief to the

13   government’s opposition to defendant’s motion to reduce sentence pursuant to

14   § 3582(c)(2) be modified to March 30, 2017.

15   Dated:     February 17, 2017

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                  STIPULATION AND [PROPOSED] ORDER TO MODIFY BRIEFING SCHEDULE - 2
